Case 5:17-cv-05089-TLB Document 48              Filed 08/23/17 Page 1 of 3 PageID #: 411




UNITED STATES DISTRICT COURT
WESTERN DISTRICT ARKANSAS
                                                 X
JILL DILLARD, JESSA SEEWALD, JINGER              :
VUOLO, and JOY DUGGAR,                           :     Civil Action No.: 17 Civ. 5089 (TLB)
                                                 :
                            Plaintiffs,          :
                                                 :
                - against -                      :
                                                 :
CITY OF SPRINGDALE, ARKANSAS;                    :
WASHINGTON COUNTY, ARKANSAS;                     :
KATHY O’KELLEY, in her individual and            :
official capacities; ERNEST CATE, in his         :
individual and official capacities; RICK HOYT, :
in his individual and official capacities; STEVE :
ZEGA, in his official capacity; BAUER            :
PUBLISHING COMPANY, L.P.; BAUER                  :
MAGAZINE, L.P.; BAUER MEDIA GROUP, :
INC.; BAUER, INC.; HEINRICH BAUER                :
NORTH AMERICA, INC.; BAUER MEDIA                 :
GROUP USA, LLC; and DOES 1-10, inclusive, :
                                                 :
                            Defendants.          :
                                                  X


   MOTION BY DEFENDANTS BAUER PUBLISHING COMPANY, L.P.; BAUER
MAGAZINE, L.P.; BAUER MEDIA SALES, INC.; BAUER, INC.; HEINRICH BAUER
NORTH AMERICA, INC.; AND BAUER MEDIA GROUP USA, LLC IN SUPPORT OF
DEFENDANTS CITY OF SPRINGDALE, ERNEST CATE, AND KATHY O’KELLEY’S
                      MOTION TO CONSOLIDATE

       Defendants, Bauer Publishing Company, L.P.; Bauer Magazine, L.P.; Bauer Media Sales,

Inc., formerly known as Bauer Media Group, Inc.; Bauer, Inc.; Heinrich Bauer North America,

Inc.; and Bauer Media Group USA, LLC (collectively, the “Bauer Defendants”) by their

attorneys, Davis Wright Tremaine LLP and Cross, Gunter, Witherspoon & Galchus, P.C., and for

their Response Wo Defendants City of Springdale, Ernest Cate and Kathy O’Kelley (collectively,

the “City Defendants”) Motion to Consolidate, state:

       1.     On August 10, 2017, pursuant to Fed. R. Civ. P. 42 the City Defendants filed a

Motion to Consolidate for all purposes, including discovery and trial, two actions pending before
Case 5:17-cv-05089-TLB Document 48                 Filed 08/23/17 Page 2 of 3 PageID #: 412




the Court: (1) Case No. 5:17-5089 (TLB), captioned Dillard v. City of Springdale, Arkansas et al.

(herein referred to as the “First Duggar Action”); and (2) Case No. No. 5:17-5125 (TLB), captioned

Duggar v. City of Springdale, Arkansas et al. (herein referred to as the “Josh Duggar Action.”).

        2.      For the reasons stated in the City Defendants’ Motion to Consolidate, the Bauer

Defendants agree that the First Duggar Action and the Josh Duggar Action should be

consolidated for all purposes.

        WHEREFORE, the Bauer Defendants respectfully request that the Court grant the City

Defendants’ Motion to Consolidate for the reasons set forth in the City Defendants’ motion.



                                               Respectfully Submitted,

Date:        August 23, 2017                           By: /s/ Elizabeth A. McNamara

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                                               Media Sales, Inc.; Bauer, Inc.; Heinrich Bauer
                                               North America, Inc.; and Bauer Media Group USA,
                                               LLC


                                                  2
Case 5:17-cv-05089-TLB Document 48                Filed 08/23/17 Page 3 of 3 PageID #: 413




                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of August, 2017, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which shall send notification of such filing to
the following:

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                                                         /s/ Jamie S. Raghu




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